               Case 6:18-bk-01852-CCJ      Doc 49    Filed 06/06/18    Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

IN RE:

          PINNACLE SERVICES, LLC,                   Case Number:         6:18-bk-01852-CCJ
                                                    Chapter:             11
                 Debtor.
                                                /

                      MOTION FOR ORDER CONFIRMING ABSENCE
                     OF AUTOMATIC STAY AS TO DEBTOR'S AGENT

          NOVEL SIGNS, INC. (“Novel”), by and through the undersigned attorney and

pursuant to 11 U.S.C. §362(j), hereby files this Motion for Order Confirming Absence of

Automatic Stay as to Debtor's Agent (this “Motion”). In support of this Motion, Novel

states:

          1.     On April 2, 2018, PINNACLE SERVICES, LLC (“Debtor”) filed a Voluntary

Petition commencing the above styled Chapter 11 case.

          2.     Novel is a creditor of Debtor with an unsecured claim in the amount of

$117,811.74.

          3.     Specifically, Novel negotiated with RICK SITZER (“Sitzer”), a principal, agent

and shareholder of Debtor, for the provision by Novel of certain goods and services,

including the manufacture and delivery of signs, lighting fixtures, and related hardware. In

exchange for such goods and services, on behalf of Debtor, Sitzer assured Novel that it

would be paid its contract price of $117,811.74.

          4.     Debtor, through Sitzer, accepted the goods and services without any

objection or complaint. Upon delivery of the goods and services by Novel, Debtor, through



                                          Page 1 of 3
             Case 6:18-bk-01852-CCJ        Doc 49   Filed 06/06/18    Page 2 of 3



its agent, Sitzer, installed the signs manufactured by Novel at numerous branches of

AXIOM BANK located within the State of Florida.

       5.      For its part, AXIOM BANK paid Debtor $281,985.05 for sign installation

services provided by Novel. Contemporaneously, Debtor, through Sitzer, issued a series

of equal payment checks totaling the amount owed Novel.

       6.      Immediately thereafter, Debtor, through Sitzer, closed Debtor’s business

checking account and issued stop payment orders on all of the checks preventing their

negotiation. In so doing, Sitzer acted with fraudulent intent against Novel.

       7.      Therefore, Novel believes it has a valid claim against Sitzer for civil theft

pursuant to Section 772.11, Florida Statutes.

       8.      Accordingly, Novel seeks to pierce Debtor’s corporate veil due to the

fraudulent conduct of Sitzer in conformity with Dania Jai-Alai Palace, Inc. v. Sykes, 450 So.

2d 1114, 1117 (Fla. 1984).

       9.      A condition precedent to the enforcement of a civil theft claim is the provision

of a written demand for treble damages pursuant to that section. Therefore, should the

Court grant the relief requested in this Motion, Novel will send Sitzer a letter substantially

in the form attached to this Motion pursuant to Section 772.11, Florida Statutes.

       10.     While the automatic stay may not apply to Sitzer, who is not a debtor in this

case, Novel seeks the entry of a “comfort order” for relief from the automatic stay.

       WHEREFORE, Novel moves this Court for the entry an order:

       a.      Granting this Motion; and

       b.      Confirming that the automatic stay in this case does not apply to Novel’s

               claim against Debtor’s agent, Sitzer, so that Novel may pursue Sitzer for civil

                                         Page 2 of 3
            Case 6:18-bk-01852-CCJ        Doc 49    Filed 06/06/18    Page 3 of 3



               theft pursuant to its rights under the Florida Statutes.



                                                          /s/ Timothy B. Perenich
                                                   Timothy B. Perenich, Esquire
                                                   Florida Bar Number: 0909490
                                                   PERENICH LAW, PL
                                                   25749 US Highway 19 N Ste 200
                                                   Clearwater, FL 33763-2010
                                                   (727) 669-2828 telephone
                                                   (727) 669-2220 facsimile
                                                   Timothy@PerenichLaw.com
                                                   Attorney for Novel

                                   Certificate of Service

      I HEREBY CERTIFY that a true, complete and correct copy of the foregoing has
been furnished on June 6, 2018 by First Class United States Mail and/or electronic
transmission to:

 Pinnacle Services, LLC          United States Trustee - ORL    Michael A Nardella
 951 N. Volusia Ave.             Office of the U.S. Trustee     Nardella & Nardella, PLLC
 Unit #500.                      George C Young Federal Bldg    250 East Colonial Drive, Ste 102
 Orange City, FL, 32763          400 West Washington Street,    Orlando, FL 32801
                                 Suite 1100                     mnardella@nardellalaw.com
                                 Orlando, FL 32801
                                 Miriam.G.Suarez@usdoj.gov



                                                          /s/ Timothy B. Perenich
                                                   Timothy B. Perenich, Esquire
                                                   Attorney for Novel




                                         Page 3 of 3
